
Upon consideration of the petition filed on the 7th day of February 2006 by Petitioners in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 4th day of May 2006."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
Upon consideration of the petition for discretionary review, filed by Petitioners on the 7th day of February 2006 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Allowed by order of the Court in conference, this the 4th day of May 2006."
Accordingly, the new brief of the Petitioners shall be filed with this Court not more than 30 days from the date of certification of this order.
Upon consideration of the petition filed by Petitioners on the 7th day of February 2006 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 4th day of May 2006."
Upon consideration of the petition filed by Petitioners on the 7th day of February 2006 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 4th day of May 2006."
